                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             NORTHERN DIVISION
                        Civil Action No. 2:21-cv-00034-JG


    LILLIE BROWN CLARK, as the             )
    Administrator for the Estate of        )
    Andrew Brown Jr.,                      )
                                           )
           Plaintiff,                      )
                                           )
           v.                              )
                                           )
    Investigator DANIEL MEADS, in his      )
                                                   DEFENDANTS’ RESPONSE
    individual capacity; Deputy Sheriff II )
                                                   TO PLAINTIFF’S MOTION
    ROBERT MORGAN, in his individual )
                                                     FOR APPROVAL OF
    capacity; Cpl. AARON LEWELLYN, in )
                                                      ATTORNEY’S FEES
    his individual capacity;               )
    Sheriff TOMMY S. WOOTEN II, in his )
    official capacity; and WESTERN         )
    SURETY BONDING COMPANY,                )
    surety for Sheriff Tommy S. Wooten II, )
                                           )
           Defendants.                     )
                                           )
                                            )



         NOW COMES defendant Tommy S. Wooten II, by and through counsel, and,

pursuant to Local Rule 7.1(f), responds to the Plaintiff’s Motion for Attorney’s Fees 1

as follows:

         The Defendants take no position on whether the Court should approve the

request for attorney’s fees, but offer the following below for the Court’s consideration.




1   The plaintiff filed the same motion twice. (Doc. Nos. 118 and 119.)


          Case 2:21-cv-00034-JG Document 120 Filed 07/18/22 Page 1 of 11
                                    DISCUSSION

      The plaintiff’s attorneys seek $1.2 million for attorney’s fees and $43,428.77

for expenses. (Doc. No. 119-1.) That leaves the remainder for the beneficiaries of the

Estate of Andrew Brown Jr. Four beneficiaries are minors, and the plaintiff has

informed the Court that “[t]he amount of the settlement proceeds to be distributed to

the minors is $1,172.111.65.” (Doc. No. 114.) The adult children will receive the rest,

which is $584,459.

      Federal district courts have “discretion in approving fee awards, particularly

when its power to protect minors or the disabled is involved.” Pellegrin v. National

Union Fire Insur. Co., 605 F.3d 238, 240 (4th Cir. 2010).           Such a request is

“evaluate[d] . . . under a reasonableness standard.” Id. at 243. When a minor is

involved, “the court . . . has a duty to protect the minor’s interests,” and

“ ‘[i]ndependent investigation by the court as to the fairness and reasonableness of a

fee to be charged against a minor’s estate or interest is required.’ ” Id. (quoting Dean

v. Holiday Inns Inc., 860 F. 2d 670, 683 (6th Cir. 1988)).

      In determining reasonableness, courts look at:         “ ‘(1) the time and labor

required in the case, (2) the novelty and difficulty of the questions presented, (3) the

skill required to perform the necessary legal services, (4) the preclusion of other

employment by the lawyer due to acceptance of the case, (5) the customary fee for

similar work, (6) the contingency of a fee, (7) the time pressures imposed in the case,

(8) the award involved and the results obtained, (9) the experience, reputation, and

ability of the lawyer, (10) the “undesirability” of the case, (11) the nature and length



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        Case 2:21-cv-00034-JG Document 120 Filed 07/18/22 Page 2 of 11
of the professional relationship between the lawyer and the client, and (12) the fee

awards made in similar cases.’ ” Id. at 244 (quoting Allen v. United States, 606 F.2d

432, 435 (4th Cir. 1979)).

      The defendants will address a few relevant factors:

      1. Time and labor

      As for the time and labor required in this case, minimal discovery was

conducted. The discovery period lasted three and a half months, from January 28,

2022, when the court issued a case management order (Doc. No. 81), to May 20, 2022,

when the parties reached an agreement in principle to resolve the case during a

telephone conference with the Court. No depositions were taken and no expert

reports were produced. Written discovery consisted of a total of two interrogatories,

a single request for production of one set of documents, and a set of requests for

admission consisting of five statements. The court held one hearing, on May 3, 2022,

concerning the release of a state investigative report. (Doc. No. 94.) Thus, discovery

in this case required little time and labor. The parties then participated in a day-

long judicial settlement conference. (Doc. No. 95.)

      The plaintiff’s attorneys assert that, in total, they worked 1,610 hours on this

case. (Doc Nos. 119-2, 119-3, 119-4, 119-5.) The Court can determine whether hours

worked is an appropriate measurement tool, but, if it is, at eight hours a day, that

comes to 201 full days of work, spread among four attorneys, over a little more than

a year. With 1,610 hours, the amount of fees the plaintiff’s attorneys seek comes to

$745 an hour.



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        Case 2:21-cv-00034-JG Document 120 Filed 07/18/22 Page 3 of 11
      By contrast, the undersigned counsel represents that his customary hourly

billable rate is $380. Using that rate as a barometer, that would come to $611,800 in

plaintiff’s attorney’s fees, which is about half what the plaintiff’s attorneys seek. If

the Court deems it necessary, to determine whether the plaintiff’s fee request is

reasonable under the hours-worked metric, the Defendants will provide the Court

with a statement about their own hours worked and fees in this case.

      2. Novelty or difficulty of the case

      Contrary to the plaintiff’s representations, this was not a novel, complex, or

difficult case, but a straight-forward one involving whether the individual defendant

officers used excessive force in violation of the Fourth Amendment and state law.

Such cases are filed in federal courts regularly, as any search of court dockets will

show and as the plaintiff repeatedly pointed out in other filings in this case.

      The plaintiff claims that a determination by the District Attorney for

Pasquotank County not to criminally prosecute the officers under state law made the

case difficult, but such a decision has no bearing on a civil case and in fact it is the

norm because officers are often sued, as any search of a legal database will show, yet

rarely charged, as has been often reported. See, e.g., Tom Jackman and Devlin

Barrett, “Charging officers with crimes is still difficult for prosecutors,” The

Washington Post, May 29, 2020 (noting that only 153 officers were charged between

2005 and 2014 for killing a suspect) 2. Moreover, the defendant officers in this case



2
 Found at: https://www.washingtonpost.com/crime-law/2020/05/29/charging-cops-
with-crimes-is-still-difficult-prosecutors (last visited July 15, 2022).

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        Case 2:21-cv-00034-JG Document 120 Filed 07/18/22 Page 4 of 11
could still be charged under federal law. See Ben Finley and Jonathan Drew, “FBI

starts probe into death of Black man killed by deputies,” The Associated Press, April

28, 2021. 3 The plaintiff also oddly claims that the District Attorney’s decision would

have had an effect on the views of potential jurors at trial, but, even if this were true

(and it is not), it has nothing to do with handling the case in discovery, which, in this

case, since there was no trial, is the proper metric the Court can use for evaluating

the difficulty of the case. 4

       3. Undesirability of case

       The case was not one that attorneys would consider as undesirable to

undertake, as shown by the news media attention it attracted. See Doc. Nos. 68, 69,

and 70. Rather, since the plaintiff’s attorneys are “Civil Rights Attorneys” (Pl.’s Brf.,

p. 2) and it attracted significant national attention, it was an extremely desirable case

to undertake – so much so that two of the plaintiff’s attorneys traveled from out of

state to appear in the case.




3 Found at: https://apnews.com/article/shootings-north-carolina-race-and-ethnicity-
elizabeth-city-bfa6b5f803a7041be6fdd4efe4cc762a (last visited July 15, 2022).
4 The plaintiff claims that, if this case went to trial, jurors would be from Pasquotank
County (Pl.’s Brf., p. 5), but this case was assigned to the district judge in New Bern,
which is five counties away. There are 44 counties in this District, spread among four
divisions. See http://www.nced.uscourts.gov/counties. A jury pool would not contain
any residents of Pasquotank County if jurors were drawn from the Eastern Division,
in which New Bern is located, because the Eastern Division has 12 counties and
Pasquotank County is not among them.



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         Case 2:21-cv-00034-JG Document 120 Filed 07/18/22 Page 5 of 11
      4. Customary fee or fees in similar cases

      As to the customary fee for such cases or awards in similar cases, the plaintiff

has offered no evidence or case law to show that a 40 percent recovery is customary

or has been obtained in similar cases.

      The Court thus has no examples of settlements or verdicts in cases involving

law enforcement officers’ alleged use of excessive force from which to compare. 5

However, by way of just one example, the fee in Pellegrin, a complex personal-injury

case not involving law enforcement, was one-third of recovery. Pellegrin, 605 F.3d at

240. By contrast, the plaintiff’s attorneys here seek more than that for a straight-

forward case that was settled early in discovery.

      The plaintiff states, incorrectly, that the minors will receive “the lion [sic]

share” [of the] overall settlement amount.” (Pl.’s Brf., p. 7.) But, as the Court noted

at the hearing on July 7, 2022, the plaintiff’s attorneys seek $1.2 million, which is

more than the $1,172,111 that the four minors will receive. It is false to say that

$1,172,111 is “the lion[’s] share” of a $3 million settlement when it is less than what

the attorneys seek ($1.2 million).       A “lion’s share” is “the largest portion” of

something, according to the Merriam-Webster Dictionary. 6 The plaintiff’s attorneys




5There is no shortage of such settlements by which to compare. The Town of Spring
Lake, North Carolina, which is just outside Fayetteville, just settled such a case for
$3 million. ---
            See, ---
                 e.g.,- https://www.townofspringlake.com.
                         - - - - - - - - - - - - - - - - - - - - - - - --

6Found at: https://www.merriam-webster.com/dictionary/lion%27s%20share) (last
checked on July 15, 2022).
                                           6

        Case 2:21-cv-00034-JG Document 120 Filed 07/18/22 Page 6 of 11
thus actually are the ones who will receive the “lion[‘s] share” of the settlement

proceeds if their request is approved.

      In sum, of the four distributions of the $3 million settlement – proceeds to the

minor beneficiaries, proceeds to the adult beneficiaries, attorney’s fees, and expenses

– the largest distribution goes to the attorneys. Whether this is reasonable is for the

Court to determine, but it must do so based on an accurate representation of the facts

and not based on an obviously false statement.

      5. Experience, reputation, and ability of the lawyers: The defendants

will address two of these factors.

      First, as to experience, the plaintiff’s attorneys have minimal experience in

civil rights cases, as a search of their reported cases in Westlaw will show. Two of

the four plaintiff’s attorneys are not even admitted to federal court, so their

experience prior to this case was, at best, limited.

      Second, as to ability, because there were no depositions, only one hearing, no

motions, and no trial, the Court can consider the quality of the plaintiff’s written work

product in this case as a measure of ability. In this regard, the Court may consider

that nearly every document the plaintiff submitted to the Court in this case contained

numerous errors.     No attorney’s written work product will be perfect, but the

plaintiff’s filings have been consistently filled with errors. The brief filed in support

of the motion for attorney’s fees contained at least a dozen errors, for example, and

one supporting affidavit contained this incoherent statement: “Currently, I am the




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        Case 2:21-cv-00034-JG Document 120 Filed 07/18/22 Page 7 of 11
lead counsel on (6) six law enforcement shootings cases that resulted in the death

throughout the United States.” Harry M. Daniels Decl. ¶ 7 (Doc. No. 119-3).

      In addition, the plaintiff also made several erroneous assertions of fact and law

during this case, including the allegation that one of the warrants for Andrew Brown

Jr. was unlawful because it was not manually signed. See Amd. Compl. ¶ 15 (Doc.

No. 56); Answ. to Amd. Compl. ¶ 15 (Doc. No. 65). The plaintiff made this allegation

in the original complaint (Doc. No. 1), a document that itself was not manually signed.

The plaintiff’s attorneys were informed of this error when the defendants filed a brief

in support of a motion to dismiss (Doc. Nos. 53-54), yet the plaintiff’s attorneys still

re-alleged that the warrant was unlawful when they filed the amended complaint

even though they had been informed that this allegation was false by both statute

and case law. This allegation is still being reported by the news media. 7 Repeatedly

misstating the law or facts, especially when presented with evidence of the error, is

some evidence of the quality of legal advocacy.

      Finally, the plaintiff received 10 corrective notices or notices of deficiency from

the Court in the first two weeks after the lawsuit was filed, according to the case

docket. These filing errors caused the Court to send the plaintiff’s attorneys copies

of the Court’s Policies and Procedures Manual and the Local Civil Rules. (Doc. Nos.

7 and 8.) This is also some evidence related to the quality of advocacy.




7See “Estate of Andrew Brown Jr. . . . reaches $3 million settlement with county,”
CNN, June 7, 2022 (found at: https://www.cnn.com/2022/06/07/us/andrew-brown-
estate-settlement-pasquotank-county-north-carolina/index.html) (last visited July
15, 2022).
                                           8

        Case 2:21-cv-00034-JG Document 120 Filed 07/18/22 Page 8 of 11
      Given all of the above, it is fair and appropriate for the Court to consider

whether the attorney’s fees in this case should be greater than the amount provided

to the four minor children who are beneficiaries of Andrew Brown Jr.’s estate.

                                  CONCLUSION

      For the reasons and authorities cited herein, the Defendants ask the Court to

exercise its informed discretion in determining whether the request of the plaintiff’s

attorneys for $1.2 million in fees is reasonable and appropriate.

      Respectfully submitted, this 18th day of July, 2022.


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                                          9

        Case 2:21-cv-00034-JG Document 120 Filed 07/18/22 Page 9 of 11
                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he is an attorney at law licensed to
practice in the State of North Carolina, is attorney for Defendants Sheriff Tommy S.
Wooten II and Western Surety Company in this matter, and is a person of such age
and discretion as to be competent to serve process.

       I hereby certify that on July 18, 2022, I electronically filed the foregoing
DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR APPROVAL OF
ATTORNEY’S FEES with the Clerk of the Court using the CM/ECF system, which
will send notification of such to the following CM/ECF participant:


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                                        10

       Case 2:21-cv-00034-JG Document 120 Filed 07/18/22 Page 10 of 11
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                                         11

WBD (US)Case
        57086767v1
              2:21-cv-00034-JG   Document 120 Filed 07/18/22 Page 11 of 11
